         Case 6:17-cv-00533-JDK-JDL Document 1-7 Filed 09/18/17 Page 1 of 1 PageID #: 101

JS 44 (Rev. 06/17)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                                      DEFENDANTS City of Palestine,
      Laza, Jeny                                                                                                                                   Mike Alexander, and
                                                                                                                                                   Ron Stutes
    (b) County of Residence of First Listed Plaintiff              ""A-""'n.,.d,.,e,.r'-'s'-'o'-'n"'---_____           County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                       NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                  THE TRACT OF LAND INVOLVED.
                                                                                                                                              Ronald D. Stutes
                                                                    James C. Mosser                                     Attorneys (IfKnoll'n) J. Matt Rowan
    (c) Attorneys {Firm Name, Address, and Telephone Numb'l<Jrosser Law PLLC
                                                                                                                                              Potter Minton, PC
                                                                    2805 Dallas Parkway, Ste 222                                              I 10 N. College Ave., Ste. 500
                                                                    Plano, TX 75093                                                           Tyler, TX 75702
                                                                    972-733-3223
II. BASIS OF JURISDICTION (Place an "X" inOneBoxOnly)                                                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                                'X" in One Box for Plaintiff
                                                                                                                   (For Diversity Cases Only)                                                and One Box for Defendant)
0 I    U.S. Government                ~3    Federal Question                                                                                 PTF         DEF                                                  PTF       DEF
          Plaintiff                           (US. Government Not a Party)                                 Citizen of This State             0 I          0        1     Incorporated or Principal Place        0 4     0 4
                                                                                                                                                                           of Business In This State

0 2    U.S. Government                0 4   Diversity                                                      Citizen of Another State          0 2          0     2        Incorporated and Principal Place       0 5     0 5
          Defendant                           (Indicate Citizenship ofParties in Item III)                                                                                  of Business In Another State

                                                                                                           Citizen or Subject of a           0 3          0     3        Foreign Nation                         0 6     0 6
                                                                                                             Forei
IV NATURE OF SUIT (Place an                    "X" in One Box Only)                                                                                       Click here for· Nature of Suit Code Descriptions
           CONTRACT                                                TORTS                                         FORFEITURE/PENALTY                           BANKRUPTCY                            OTHER STATUTES
0   110 Insurance                         PERSONAL INJURY                PERSONAL INJURY                   0 625 Drug Related Seizure              0 422 Appeal 28 USC 158                   0 375 False Claims Act
0   120 Marine                       0 310 Airplane                    0 365 Personal Injury -                        of Property 21 USC 881       0 423 Withdrawal                          0 376 Qui Tam (31 USC
0   130 Miller Act                   0 315 Airplane Product                   Product Liability            0 690 Other                                        28   usc 157                            3729(a))
0   140 Negotiable Instrument                  Liability               0 367 Health Care/                                                                                                    0   400 State Reapportiomnent
0   150 Recovery of Overpayment      0 320 Assault, Libel &                   Pharmaceutical                                                            PROPERTY RIGHTS                      0   41 0 Antitrust
        & Enforcement of Judgment              Slander                        Personal Injury                                                      0 820 Copyrights                          0   430 Banks and Banking
0   151 Medicare Act                 0 330 Federal Employers'                 Product Liability                                                    0 830Patent                               0   450 Commerce
0   152 Recovery of Defaulted                  Liability               0 368 Asbestos Personal                                                     0 835 Patent- Abbreviated                 0   460 Deportation
        Student Loans                0 340 Marine                              Injury Product                                                                 New Drug Application           0   4 70 Racketeer Influenced and
        (Excludes Veterans)          0 345 Marine Product                      Liability                                                           0 840 Trademark                                    Corrupt Organizations
0   153 Recovery of Overpayment                Liability                PERSONAL PROPERTY                                   LABOR                       SOCIAL SECURITY                      0   480 Consumer Credit
        of Veteran's Benefits        0 350 Motor Vehicle               0 370 Other Fraud                   0 710 Fair Labor Standards              0    861 HIA (1395ff)                     0   490 Cable/Sat TV
0   160 Stockholders' Suits          0 355 Motor Vehicle               0 3 71 Truth in Lending                        Act                          0    862 Black Lung (923)                 0   850 Securities/Commodities/
0   190 Other Contract                        Product Liability        0 380 Other Personal                0 720 Labor/Management                  0    863 DIWC/DIWW (405(g))                        Exchange
0   195 Contract Product Liability   0 360 Other Personal                     Property Damage                         Relations                    0    864 SSID Title XVI                   0   890 Other Statutory Actions
0   196 Franchise                             Injury                   0 385 Propetiy Daruage              0 740 Railway Labor Act                 0    865 RSI (405(g))                     0   891 Agricultural Acts
                                     0 362 Personal Injury-                   Product Liability            0 751 Family and Medical                                                          0   893 Environmental Matters
                                              Medical Malpractice                                                     Leave Act                                                              0   895 Freedom oflnformation
        REAL PROPERTY                      CMLRIGHTS                    PRISONER PETITIONS                 0 790 Other Labor Litigation                 FEDERAL TAX SUITS                             Act
0   210 Land Condemnation            ill: 440 Other Civil Rights         Habeas Corpus:                    0 791 Employee Retirement               0 870 Taxes (U.S. Plaintiff               0   896 Arbitration
0   220 Foreclosure                  0 441 Voting                      0 463 Alien Detainee                          Income Security Act                 or Defendant)                       0   899 Administrative Procedure
0   230 Rent Lease & Ejectment       0 442 Employment                  0 510 Motions to Vacate                                                     0 871 IRS-Third Party                              ActJReview or Appeal of
0   240 Torts to Land                0 443 Housing/                          Sentence                                                                    26USC 7609                                   Agency Decision
0   245 Tort Product Liability                Accommodations           0 530 General                                                                                                         0   950 Constitutionality of
0   290 All Other Real Property      0 445 Amer. w/Disabilities -      0 535 Death Penalty                           IMMIGRATION                                                                      State Statutes
                                              Employment                 Other:                                0 462 Naturalization Application
                                     0 446 Amer. w/Disabilities-       0 540 Mandamus & Other                  0 465 Other Immigration
                                              Other                    0 550 Civil Rights                            Actions
                                     0 448 Education                   0 555 Prison Condition
                                                                       0 560 Civil Detainee -
                                                                             Conditions of
                                                                             Confmement

V. ORIGIN (Place an          "X"inOneBoxOnly)
0 1 Original             \5(2 Removed from                0    3      Remanded from                 0 4 Reinstated or             0 5 Transferred from                   0 6 Multidistrict              0 8 Multidistrict
    Proceeding                State Court                             Appellate Court                   Reopened                       Another District                      Litigation-                    Litigation-
                                                                                                                                       (specify)                             Transfer                      Direct File



                                                                                                                                                                   10 US Const.; 5th & 14th Amendments
VII. REQUESTED IN                             CHECK IF TillS IS A CLASS ACTION                                                                                         CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                                                                                 JURY DEl\fAND:              ))i( Yes     ONo
VIII. RELATED CASE(S)
                                            (See   instructiom~:
      IF ANY                                                                                                                                            DOCKET NUMBER
DATE




    RECEIPT#                      AMOUNT                                                                                             JUDGE                                      MAG. JUDGE
